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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA


                                              )
GEORGE E. BARBOUR                             )
                             Plaintiff        )
                                              )
              vs.                             )          No. CIV-17-589-C
                                              )
PELAGIC TANK LLC, et a;                       )
                     Defendant                )


                         ADMINISTRATIVE CLOSING ORDER

       On the representation from counsel for all parties, the parties have reached a

settlement and compromise, it is ordered that the Clerk administratively terminate this

action in her records without prejudice to the rights of the parties to reopen the

proceeding for good cause shown, for the entry of any stipulation or order, or for any

other purpose required to obtain a final determination of the litigation.

       If the parties have not reopened this case within 30 days of this date for the

purpose of dismissal pursuant to the settlement and compromise, Plaintiff’s action shall

be deemed to be dismissed.

       IT IS SO ORDERED this 7th day of August 2018.
